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                       Exhibit 7
     Case 4:07-cv-05944-JST Document
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                                                            Page 2ofof1718


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     Liaison Counsel for Direct Action Plaintiffs
10
     [additional counsel listed on signature page]
11
                                  UNITED STATES DISTRICT COURT
12                              NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
13
      IN RE: CATHODE RAY TUBE (CRT)                          Master File No. 3:07-md-05944-SC
14    ANTITRUST LITIGATION
                                                             MDL No. 1917.
15
     This Document Relates To:                               DIRECT ACTION PLAINTIFFS’
16                                                           SECOND SET OF REQUESTS FOR
      Best Buy Co., Inc., et al. v. Hitachi, Ltd., et al.,   PRODUCTION TO DEFENDANTS
17                                                           CHUNGHWA PICTURE TUBES, LTD.
      No. 11-cv-05513;
                                                             and CHUNGHWA PICTURE TUBES
18                                                           (MALAYSIA).
      Target Corp, et al. v. Chunghwa Picture
19    Tubes, Ltd., et al., No. 11-cv-05514;

20    Interbond Corporation of America v. Hitachi,
      et al., No. 11-cv-06275;
21
      Office Depot, Inc. v. Hitachi Ltd., et al.,
22    No. 11-cv-06276;

23    CompuCom Systems, Inc. v. Hitachi, Ltd.,
      et al., No. 11-cv-06396;
24
      P.C. Richard & Son Long Island Corporation,
25    et al. v. Hitachi, Ltd., et al., No. 12-cv-02648;

26    Schultze Agency Services, LLC, et al. v.
      Hitachi, Ltd., et al., No. 12-cv-02649;
27
      Tech Data Corporation, et al. v. Hitachi, Ltd.,
28    et al., No. 13-cv-00157-SC
     DIRECT ACTION PLAINTIFFS’ SECOND SET OF                                     Master File No. 3:07-md-05944-SC
     REQUESTS FOR PRODUCTION TO CHUNGHWA DEFENDANTS
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 1   PROPOUNDING PARTIES:                      Direct Action Plaintiffs Best Buy Purchasing LLC, Best
                                               Buy Enterprise Services, Inc., Best Buy Stores, L.P.,
 2                                             Bestbuy.com, L.L.C., and Magnolia Hi-Fi, LLC; Target
                                               Corp., Sears, Roebuck, and Co., Kmart Corp.; Interbond
 3                                             Corporation of America; Office Depot, Inc.; CompuCom
 4                                             Systems, Inc.; P.C. Richard & Son Long Island
                                               Corporation, MARTA Cooperative of America, Inc., and
 5                                             ABC Appliance, Inc.; Schultze Agency Services, LLC on
                                               behalf of Tweeter Opco, LLC and Tweeter Newco, LLC;
 6                                             Tech Data Corporation and Tech Data Product
                                               Management, Inc.
 7

 8   RESPONDING PARTIES:                       Chunghwa Picture Tubes, Ltd. and Chunghwa Picture
                                               Tubes (Malaysia).
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     DIRECT ACTION PLAINTIFFS’ SECOND SET OF
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     DEFENDANTS
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 1           Pursuant to Federal Rules of Civil Procedure 26 and 34, Direct Action Plaintiffs Best Buy
 2   Co., Inc., Best Buy Purchasing LLC, Best Buy Enterprise Services, Inc., Best Buy Stores, L.P.,
 3   Bestbuy.com, L.L.C., and Magnolia Hi-Fi, LLC; Target Corp., Sears, Roebuck, and Co., Kmart
 4   Corp.; Interbond Corporation of America; Office Depot, Inc.; CompuCom Systems, Inc.; P.C.
 5   Richard & Son Long Island Corporation, MARTA Cooperative of America, Inc., and ABC
 6   Appliance, Inc.; Schultze Agency Services, LLC on behalf of Tweeter Opco, LLC and Tweeter
 7   Newco, LLC; Tech Data Corporation and Tech Data Product Management, Inc. (collectively,
 8   “Direct Action Plaintiffs”), through their counsel, request that Chunghwa Picture Tubes, Ltd. and
 9   Chunghwa Picture Tubes (Malaysia) (collectively, “Chunghwa Defendants”) respond to the
10   following document requests within thirty days of service and produce responsive documents,
11   and afterwards supplement such production as may become necessary to comply with the
12   requirements of Rule 26(e) of the Federal Rules of Civil Procedure.
13                                             DEFINITIONS
14           The words and phrases used in these requests shall have the meanings ascribed to them
15   under the Federal Rules of Civil Procedure and the Local Rules of the United States District
16   Court for the Northern District of California. In addition, the following terms shall have the
17   meanings set forth below whenever used in any request.
18           1.      The term “Affiliated Entity(ies)” means any entity(ies) involved in the
19   production, pricing, marketing, distribution, and/or sale of CRTs or CRT Products (as those
20   terms are defined herein) at any time during the Relevant Period (as defined herein) in which any
21   of the Chunghwa Defendants (as defined herein), or any division, subdivision, business unit,
22   parent, subsidiary, affiliate, or joint venture thereof, held any ownership interest at any time from
23   March 1, 1995, to the present.
24           2.      The words “all,” “any,” and “each” mean “each and every.”
25           3.      The words “and” and “or” are both conjunctive and disjunctive as necessary.
26           4.      The term “business expenses” includes any and all costs of doing business,
27   including but not limited to any and all taxes, land acquisition costs, rent payments, insurance
28   expenses, utility expenses (including but not limited to payments to vendors providing gas,
     DIRECT ACTION PLAINTIFFS’ SECOND SET OF
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 1   electric, water, trash disposal, internet, or phone services), office equipment purchases,
 2   maintenance and repair expenses, office construction or remodeling expenses, legal
 3   representation expenses, accounting expenses, and licensing or permit fees.
 4       5. The words “communication” or “correspondence” or words of similar import, in the
 5   singular or plural, mean and include without limitation any transmission of documents,
 6   conversations, discussions, meetings, or other oral or written exchanges arising out of or
 7   concerning the subject matter addressed.
 8           6.      The term “CRT” means cathode ray tube and includes cathode ray tubes used in
 9   color televisions and color computer monitors.
10           7.      The term “CRT Manufacturer” means any entity that manufactures CRTs.
11           8.      The term “CRT Product” means a television or computer monitor containing a
12   CRT.
13           9.      The term “CRT Product Manufacturer” means any entity that manufacturers
14   products containing CRTs, including, but not limited to, original equipment manufacturers,
15   original design manufacturers, electronics manufacturing services, contract manufacturers,
16   and/or systems integrators.
17           10.     “Document” means, without limitation, the following items, whether printed,
18   recorded, or reproduced by any other mechanical means or process, or written or produced by
19   hand: agreements; contracts; orders; purchase orders; communications; correspondence; letters;
20   emails; telegrams; tape recordings; memoranda; summaries; notes or other recordings of
21   telephone conversations, personal conversations, or meetings; agenda of meetings; notices;
22   minutes; records; calendars; daily diaries; daytimers; statistics; interoffice memoranda; personal
23   memoranda; photographs; photographic slides; motion picture films; audio tapes; charts; graphs;
24   diagrams; drawings; bookkeeping entries; bills; invoices; orders; receipts; canceled checks;
25   vouchers; ledger sheets; computer printouts; statements of witnesses; findings of investigations;
26   files; records of negotiations; reports of experts; reports of consultants; papers; books; bulletins;
27   publications; telefaxes; facsimiles; worksheets; securities; order tickets; records; objects; video
28   tapes; maps; posters; pamphlets; flyers; and any and every other writing or other graphic means
     DIRECT ACTION PLAINTIFFS’ SECOND SET OF
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 1   by which human intelligence is in any way transmitted or reported. This includes all drafts,
 2   alterations, modifications, changes, and amendments of any of the foregoing of which you have
 3   knowledge or which are now or were formerly in your actual or constructive possession, custody,
 4   or control. A draft or non-identical copy is a separate document within the meaning of this term.
 5           11.     “Identify,” when used with reference to an entity, means to state the full name,
 6   present or last known address, and present or last known telephone number of such entity.
 7           12.     “Identify,” when used with reference to documents, other than those under claim
 8   of privilege, means to identify the documents by each author, sender, addressee, date, subject,
 9   recipient, place of recording, and custodian.
10           13.     “Identify” or “identification,” when used in reference to an individual person,
11   means to state his or her full name, present or last known address, present or last known
12   telephone number, and present or last known position and business affiliation.
13           14.     “Identify,” “describe,” “explain,” or “state,” when used in reference to any fact,
14   act occurrence, transaction, statement, communication, document, or other matter, means to
15   describe and identify the facts constituting such matter.
16           15.     “Including” or “includes” means without limitation.
17           16.     “Reflect(ing) or refer(ring) to” means a statement or communication about,
18   relating to, concerning, describing, containing, identifying, or in any way pertaining to the
19   subject matter in the request.
20           17.     The term “Relevant Period” means the period beginning March 1, 1995 and
21   continuing through the present.
22           18.     The terms “You” and “Your” mean the Chunghwa Defendants and/or each of the
23   Chunghwa Defendants, as defined herein.
24           19.     The term “Chunghwa Defendants” refers collectively to Chunghwa Picture Tubes,
25   Ltd. and Chunghwa Picture Tubes (Malaysia), and their predecessors, parents, subsidiaries, or
26   affiliates and segments, departments, or divisions thereof.
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     DIRECT ACTION PLAINTIFFS’ SECOND SET OF
                                                                               Master File No. 3:07-md-05944-SC
     REQUESTS FOR PRODUCTION TO CHUNGHWA              -3-
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 1                                             INSTRUCTIONS
 2           1.      The documents covered by these requests include all documents in your
 3   possession, custody, or control.
 4           2.      Each document request shall be construed independently, and no document
 5   request shall be viewed as limiting the scope of any other document request.
 6           3.      Each document request seeks information limited to the Relevant Period, unless
 7   stated otherwise.
 8           4.      You shall produce all documents in the manner in which they are maintained in
 9   the usual course of Your business and/or You shall organize and label the documents to
10   correspond to the categories of the requests. A request for a document shall be deemed to
11   include a request for any and all file folders within which the document was contained,
12   transmittal sheets, cover letters, exhibits, attachments, or enclosures to the document in addition
13   to the document itself.
14           5.      The fact that a document is produced by another party does not relieve you of the
15   obligation to produce your copy of the same document, even if the two documents are identical.
16           6.      If you withhold under any claim of privilege any document or thing or portion
17   thereof requested, then furnish a list specifying each document or thing or part thereof for which
18   the privilege is claimed and the following information about each such item: date, author,
19   recipients and their titles; basis on which the privilege is claimed; the paragraph or sub-paragraph
20   of the request to which the document or thing responds; and a sufficient description of the
21   subject matter of the document or thing (without disclosing its contents) to allow its description
22   to the Court for a ruling on the claim of privilege.
23           7.      If any information requested is withheld based on a claim that such information
24   constitutes attorney work-product, please provide all the information described in the previous
25   instruction and identify the litigation in connection with which the information and the
26   information it contains was obtained and/or prepared.
27           8.      For each document request with respect to which you assert a claim of privilege,
28   state whether the documents or information requested have ever been provided to the
     DIRECT ACTION PLAINTIFFS’ SECOND SET OF
                                                                                 Master File No. 3:07-md-05944-SC
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 1   Government or any party, entity, or individual other than the Chunghwa Defendants or their
 2   attorneys.
 3            9.     If any responsive document was but is no longer in your possession or subject to
 4   your control, state whether it is: (a) missing or lost; (b) destroyed; (c) otherwise disposed of; or
 5   (d) transferred voluntarily or involuntarily to others, and identify the name and address of its
 6   current or last known custodian, and the circumstances surrounding such disposition.
 7            10.    The obligation to respond to these document requests is continuing pursuant to
 8   Rule 26(e) of the Federal Rules of Civil Procedure. If at any time after responding to these
 9   document requests you discover additional responsive documents that will make your responses
10   to these document requests more complete or correct, amend your responses and produce such
11   responsive documents as soon as reasonably possible, pursuant to the requirements of Rule
12   26(e).
13            11.    If an objection is made to a request, or a part of a request, the specific ground for
14   the objection shall be set forth clearly in the response to that request. If you consider only a part
15   of a request to be objectionable, you must specify such part, and must otherwise respond to the
16   remainder of the request.
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     DIRECT ACTION PLAINTIFFS’ SECOND SET OF
                                                                                  Master File No. 3:07-md-05944-SC
     REQUESTS FOR PRODUCTION TO CHUNGHWA               -5-
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 1                                   REQUESTS FOR PRODUCTION
 2   REQUEST NO. 30:
 3           All Documents relating to, prepared for, submitted to, or received from any foreign
 4   governmental or legislative body, including the Canadian Competition Bureau, the European
 5   Commission, any agency or representative body of any foreign country, state or other political
 6   subdivision, or any law enforcement agency, authority or commission in any foreign country,
 7   relating to the production, sale, marketing, pricing or distribution of CRT or CRT Products. This
 8   request includes all Documents relating to proffers, transcripts, notes, summaries, testimony,
 9   witness statements, or responses to requests for information that You produced to any foreign
10   governmental agency or foreign grand jury, including any Documents produced as part of any
11   plea bargain negotiations or in connection with any application for or grant of amnesty.
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     DIRECT ACTION PLAINTIFFS’ SECOND SET OF
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                                                                 of of
                                                                    1718


     DATED: January 30, 2014                   /s/ Philip J. Iovieno
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                                               Systems, Inc., Interbond Corporation of America, P.C.
16                                             Richard & Son Long Island Corporation, MARTA
                                               Cooperative of America, Inc., ABC Appliance, Inc.,
17                                             Schultze Agency Services LLC on behalf of Tweeter
                                               Opco, LLC and Tweeter Newco, LLC
18

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     DIRECT ACTION PLAINTIFFS’ SECOND SET OF
                                                                               Master File No. 3:07-md-05944-SC
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                                                            Page 11ofof1718


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     DIRECT ACTION PLAINTIFFS’ SECOND SET OF
                                                                               Master File No. 3:07-md-05944-SC
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                                                            Page 12ofof1718


                                               /s/ Scott N. Wagner
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14                                             Tech Data Product Management, Inc.

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     DIRECT ACTION PLAINTIFFS’ SECOND SET OF
                                                                               Master File No. 3:07-md-05944-SC
     REQUESTS FOR PRODUCTION TO CHUNGHWA              -9-
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                                                            Page 13ofof1718



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12                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
13                                   SAN FRANCISCO DIVISION
14
      In re: Cathode Ray Tube (CRT)                          Master File No. 3:07-md-05944-SC
15    ANTITRUST LITIGATION
                                                             MDL No. 1917
16    This Document Relates To:
17    Best Buy Co., Inc., et al. v. Hitachi, Ltd., et al.,
      No. 11-cv-05513;                                       CERTIFICATE OF SERVICE
18
      Target Corp, et al. v. Chunghwa Picture
19    Tubes, Ltd., et al., No. 11-cv-05514;

20    Interbond Corporation of America v. Hitachi,
      et al., No. 11-cv-06275;
21
      Office Depot, Inc. v. Hitachi Ltd., et al.,
22    No. 11-cv-06276;

23    CompuCom Systems, Inc. v. Hitachi, Ltd.,
      et al., No. 11-cv-06396;
24
      P.C. Richard & Son Long Island Corporation,
25    et al. v. Hitachi, Ltd., et al., No. 12-cv-02648;

26    Schultze Agency Services, LLC, et al. v.
      Hitachi, Ltd., et al., No. 12-cv-02649;
27
      Tech Data Corporation, et al. v. Hitachi, Ltd.,
28    et al., No. 13-cv-00157-SC

     CERTIFICATE OF SERVICE                                                     Master File No. 3:07-md-05944-SC
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 1
                                     CERTIFICATE OF SERVICE
 2
             I HEREBY CERTIFY that I caused a true and correct copy of the documents listed below
 3
     to be served by Email transmission on January 30, 2014 to each of the persons as set forth on the
 4
     attached service list.
 5
         •   Direct Action Plaintiffs’ Second Set of Requests for Production to Defendants Chunghwa
 6
             Picture Tubes, Ltd. and Chunghwa Picture Tubes (Malaysia)
 7

 8

 9
     Dated: January 30, 2014                            /s/   Timothy Miller
10                                                      Timothy Miller

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     Case 4:07-cv-05944-JST Document
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